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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

LEE BATES                                                         CIVIL ACTION

VERSUS                                                            NO: 11-51

TRANSUNION, LLC, et al                                            SECTION: "I"

                                          ORDER

       This matter was brought before the Court following a call of the docket and notice to pro

se plaintiff to show cause why no action has been taken in the above captioned case. No good

cause being shown, the Court ordered that plaintiff's complaint against the defendants, CSC

Credit Services, Millennium Financial G, Alpat Co. Inc., BMW Financial Services, Chrysler

Financial, Crescent Bank and Trust, Entergy GSU, JNR Adjustment, Land Rover, Lease Finance

Group LL, Office of Student Finance, USA Funds, Sprint Nextel, Synrgtic Com, Newmandrol,

Premier Honda, PremierHonda, Stellar Recv, IR Anaheim, Informative Research, I, Accounts

Receivable Mg, Alltel Communications, Premier Nissan, Elavon Acq, Aggressive, MRS LLC,

Directv, FIA CSNA, Alphera, Verifacts In, General Revenue Company, Microblar SRA

Associates, be dismissed without prejudice.

       Accordingly, IT IS ORDERED, ADJUDGED AND DECREED that plaintiff's complaint

against the defendants, CSC Credit Services, Millennium Financial G, Alpat Co. Inc., BMW

Financial Services, Chrysler Financial, Crescent Bank and Trust, Entergy GSU, JNR

Adjustment, Land Rover, Lease Finance Group LL, Office of Student Finance, USA Funds,

Sprint Nextel, Synrgtic Com, Newmandrol, Premier Honda, PremierHonda, Stellar Recv, IR

Anaheim, Informative Research, I, Accounts Receivable Mg, Alltel Communications, Premier
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Nissan, Elavon Acq, Aggressive, MRS LLC, Directv, FIA CSNA, Alphera, Verifacts In, General

Revenue Company, Microblar SRA Associates, is dismissed without prejudice because of a

failure to prosecute.

       New Orleans, Louisiana, this   4th    day of August, 2011.




                                                      JAY C. ZAINEY
                                                 UNITED STATES DISTRICT JUDGE
